Cas

 

9 8-18-73426-38'[ DOC 1 Filed 05/21/18 Entered 05/21/18 10228:15

Fii| in this information to identify your case: U S BAN{EQ\§§-§SCY CO!!RT
- » - _ - ' ` win Sriztcr"§r'
united states Baner ptcy court for the: - EASTE§§E‘W ~§3;:;, ""
Eastem Distri<:t of Ne w York n
' . i 2318 ii!i`t’ 21 A §§ G'»il
‘ Case number <iiknawr); Chapter you are filing under:
' \:l Chapter7 §
n Chapter 11 § g so s-B~
Chapter12 § - § -.5 §1 ':`. _
chapter 13 ` "‘Check if'this is an

 

amended filing

 

 

§\_§Ioluntary Petition for individuals Fi|ing for Bankruptcy ` wis

 

The bankruptcy formls use you and Debtor 1 to refer to a debtor filing alone. A married couple may t”iie a bankruptcy case together-called a

. joint case-and in jo nt cases, these forms use you to ask for information from both debtors. For exampie, if a form asks, “Do you own a car,”
the answer would be yes if either debtor owns a car. When information is needed about the spouses separateiy, the form uses Debtor 1 and
Debtor2 to distinguish between them. in joint cases, one of the spouses must report information as Debtor 1 and the other as Debtor 2. The
same person must b a Debtor 1 in all of the fonns.

B_e as complete and
information. if more

accurate as possibie. if two married people are filing together, both are equally responsible for supplying correct
space is needed, attach a separate sheet to this form. `On the top of any additional pages, write your name and case number

` _ (if known). _Answer e very question.

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

lYourself
About Debtor 1: About Debtor 2 (Spouse Oniy in a Joint Case):
1.l Your full name
Write the name that is on your Christopher
government-issued picture F. _
identiiication (for e|xample, "St name F"s‘ name
your driver’s license or J
passporf). Middle name Middle name
, "B_ri'ng your picture , Anme"°
= identification to yo Jr meeting Lasf name ' Lasf name
with the trustee. -
Sufhx(Sr., Jr., |l, i|i) Suffix (Sr., Jr., |i, ill)
2.v Ail other names| you _
§ have used in the last 8 First name First name
ye_ars
§ , |nc[ude your married or Middle name Middle name
maiden names.
` Last name Last name
First name First name
Middle name Middle name
Last name Last name
. t 3,_ only the last 4 digits or § 0 A/ 2 XX~X _ XX _ v
` b y your Socia| Security XXX ` XX _- _ -_- _ _ _
number or fede;rai OR oR
individual Taxpayer 9 _ 9
identification number XX ” XX __ ____ __ ___ ~ XX “' XX ___ __ _ _
(iT|N)
, Ofticial Form 101 Voiuntary Petition for individuals Fi|ing for Bankruptcy page 1

 

CaS€ 8-18-73426-&8'[ DOC 1 Filed 05/21/18

Debtm ' ChristopherJ.Anniello

First Name l Middle Name

Last Name _

Case number (imnown)

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4. Any business names

and Empioyer §

_ identification Numbers

(EiN) you have used in
the last 8 years

l
include trade names and

doing business as 1ames

About Debtor1:

w l have not used any business names or EiNs.

About Debtor 2 (Spouse Oniy in a Joint Case):

El l have not used any business names or EiNs.

 

Business name

Business name

 

Business name

H_

Business name

EN_

H_

 

5. Where you live

931 Sycamore Ave.

 

 

if Debtor 2 lives at a different address:

 

 

 

 

 

Number Street Number Street
Bohemia NY11716

City State ZlP Code City State ZlP Code
SU FFOLK

County County

if your mailing address is different from the one
above, fill it in here. Note that the court will send
any notices to you at this mailing address.

 

 

 

if Debtor 2’s mailing address is different from
yours, fill it in here. Note that the court will send
any notices to this mailing address.

 

 

 

 

 

Number Street Number Street

P.O. Box P.O. Box

City ‘State ZlP Code City State ZlP Code
`6.' Why you are choosing Check one: Check one:

this district to f le for
bankruptcy

 

m Over the last 180 days before filing this petition,
l have lived in this district longer than in any
other district.

l:\ l have another reason. Explain.
(see 28 u.s.C. § 1408.)

 

 

 

 

m Over the last 180 days before filing this petition,
l have lived in this district longer than in any
other district.

El l have another reason. Explain.
(See 28 U.S.C. § 1408.)

 

 

 

 

 

Official Form 101

Vo|untary Petition for individuals Fiiing for Bankruptcy page 2

 

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Debtor1 ChriStODher J. Anniello Case number (itknown)

First Name l Middle Name Last Name

 

Teli the éoun About Your Bankruptcy Case
r

 

r
l
7. The chapter of t:he Check one. (For a brief description of each, see Notice Required by 11 U.S.C. § 342(b) for /ndividuals Fi/ing

Bankruptcy code you for Bankruptcy (Form 2010)). A|so, go to the top of page 1 and check the appropriate box.
are choosing to‘fiie
under ! El Chapter7

El Chapter 11
El Chapter 12
w Chapter 13

 

 

8. -How` you will pay the fee Cl i will pay the entire fee when l file my petition. Please check with the clerk’s office in your
` local court for more details about how you may pay. Typically, if you are paying the fee
yourselfl you may pay with cash, cashier’s check, or money order. lf your attorney is
submitting your payment on your behalfl your attorney may pay With a credit card or check
with a pre-printed address.

M i need to pay the fee in installments lf you choose this option, sign and attach the
Application for lndividua/s to Pay The Fi/ing Fee in lnsta//ments (Official Form 103A).

Cl i request that my fee be waived (You may request this option only if you are filing for Chapter 7.
By law, a judge may, but is not required tol Waive your fee, and may do so only if your income is
less than 150% of the official poverty line that applies to your family size and you are unable to
pay the fee in installments). lf you choose this option, you must fill out the A,oplicafion to Have the
Chapter 7 Fi/ing Fee Waived (thcial Form 103B) and file it With your petition.

 

 

 

 

 

 

9. Have you filed for g No
bankruptcy within the
last 8 years? n Yes. District When Case number
- MM/ DD/YYYY
District When Case number
| MlV|/ DD/YYYY
District When Case number
lVllV|/ DD / YYYY
10. Are any baner ptcy q NO
cases pending!or being _ _
filed by a spoulse who is n Yes. Debtor Relatronshrp to you
not filmg this c|a_se w'th Disirict When Case number, if known
you, or by a business MM / DD /YYYY
partner, or by am
affiliate?
Debtor Relationship to you
District When Case number, if known
iVl|Vl / DD /YYYY
l
11- D° _y°u rent your w No. Go to line 12.
res'dence? n Yes. Has your landlord obtained an eviction judgment against you and do you want to stay in your

residence?

El No. Go to line 12.

Cl Yes. Fill out /nifr'al Stafement About an Er/iction Judgment Against You (Form 101A) and file it with
this bankruptcy petition.

Official Form 101 Vo|untary Petition for individuals Fi|ing for Bankruptcy page 3

 

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1

never - Chrislooher J. Annie|lo case numberr,»,mr,

First Name Middle Name Last Name

ml\eport Ai|)out Any Businesses You Own as a Sole Proprietor

 

 

`Are you a sole proprietor m No, 90 to Part 4_
’of a`ny fu||- or part-time
,`busines`s? ~
A sole proprietorship is a

.buS-ir.less you operalte as an Name of business if any
individual, and is not a ’
separate legal entity such as
a corporation, partnership, or

`;‘1

   
  

 

\;\ Yes. Name and location of business

 

 

 

 

 

 

 

LLC' Number Street
lf you have more tt an one
sole proprietorship use a
separate sheet anc attach it
, '° .th's Pem'°"' city _ state ziP code
Check the appropriate box to describe your business:
n Health Care Business (as defined in 11 U.S.C. § 101(27A))
m Single Asset Real Estate (as defined in 11 U.S.C. § 101 (51B))
n Stockbroker (as defined in 11 U.S.C. § 101(53A))
l;l Commodity Broker (as defined in 11 U.S.C. § 101 (6))
L:l None of the above
`i 13. Are you filing under _ lf you are filing under Chapter11, the court must know whether you are a small business debtor so that it
` ' ;'Chapter 11 of the can set appropriate deadlines. lf you indicate that you are a small business debtor, you must attach your
Bankruptcy code and most recent balance sheet, statement of operations, cash-flow statement, and federal income tax return or if

~ are you a small business any of these documents do not exist, follow the procedure in 11 U.S.C. § 1116(1)(B).

debtor?
_ l m No. l am not filing under Chapter11.
For a definition of lsmall
business debtor, S,ee E\ No. l am filing under Chapter11, but | am NOT a small business debtor according to the definition in
l 11 U-S-_C' § 101(511'-))- the Bankruptcy Code.

n Yes. l am ming under Chapter 11 and l am a small business debtor according to the definition in the
Bankruptcy Code.

|
' t4. Do you own or lhave an ' m No
' ro e that oses or is
:"e;e:\;o p°sr;: a threat cl Yes. What is the hazard?

mReport if You Own or Have Any Hazardous Property or Any Property That Needs immediate Attention

 

of imminent and
identifiable hazard to

 

public health or safety?

` - Or do you own lany
property that nreeds lf immediate attention is needed, why is it needed?

 

immediate attention?

v For example, do you own

 

": perishable goods, or livestock

- that must be fed, or a building
.' that needs urgent repairs?

 

 

Where is the property?

 

Number Street

 

 

City _ Staie ZlP Code

_ `,Officiai Form' 101 Vo|untary Petition for individuals Fi|ing for Bankruptcy page 4

 

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First Name

Middle Name Last Name

l

1

` ' l
Debtor1 ChrlStODh€l' J. Anniel|O Case number urr<n¢>wn)

l

l

l

wxplain Y`our Efforts to Receive a Briefing About Credit Counseling

 

15. Teii the court whether About Debtor 1'
you have received a
briefing about c:redit 'You must check one.'
. _ l
counselmg' l L_.i l received a briefing from an approved credit
| counseling agency within the 180 days before l
The lEW requires trial you filed this bankruptcy petition, and i received a »

receive a briefing

counseling before your file for
bankruptcy You must

about Cr€dif certificate of completion.

Attach a copy of the certificate and the payment
1 plan, if any, that you developed with the agency.

truthfully check one of the

7 following choices.

cannot do so, you are not

eligible to fi|e.

if you file anyway, he court
can dismiss your case, you

, ',wiil lose whatever filing fee
» '_`you paid,' and youn creditors
" can begin coilectio

again. `

Officiai Form 101

|f you Meived a briefing from an approved credit
counseling agency within the 180 days before |
filed this bankruptcy petition, but l do not have a
certificate of completion.

VVithin 14 days after you file this bankruptcy petition,
you l\/|UST file a copy of the certificate and payment
plan, if any.
n a°t'V't‘es gi certify that l asked for credit counseling
services from an approved agency, but was
unable to obtain those services during the 7
days after| made my request, and exigent
circumstances merit a 30-day temporary waiver
of the requirement.

To ask for a 30-day temporary waiver of the
requirement, attach a separate sheet explaining
what efforts you made to obtain the brienng, why
you were unable to obtain it before you filed for
bankruptcy, and what exigent circumstances
required you to file this case.

Your case may be dismissed if the court is
dissatisfied with your reasons for not receiving a
briefing before you filed for bankruptcy.

if the court is satisfied with your reasons, you must
still receive a briefing within 30 days after you file.
You must file a certificate from the approved
agency, along with a copy of the payment plan you
developed, if any. if you do not do so, your case
may be dismissed.

Any extension of the 30-day deadline is granted
only for cause and is limited to a maximum of 15

l days.

Ei | am not required to receive a briefing about
credit counseling because of:

l l;i |ncapacity. | have a mental illness or a mental
l deficiency that makes me
incapable of realizing or making
rational decisions about finances.

 

n Disability. l\/ly physical disability causes me
to be unable to participate in a
briefing in person, by phone, or
through the internet, even after l
reasonably tried to do so.

n Active duty. l arn currently on active military
duty in a military combat zone.

lf you believe you are not required to receive a
briefing about credit counseling, you must file a
motion for waiver of credit counseling with the court.

About Debtor 2 (Spouse On|y in a Joint Case):

You must check one.'

m | received a briefing from an approved credit 4
counseling agency within the 180 days before i
filed this bankruptcy petition, and l received a
certificate of completion.

Attach a copy of the certificate and the payment
plan, if any, that you developed with the agency.

n | received a briefing from an approved credit
counseling agency within the 180 days before l
filed this bankruptcy petition, but | do not have a
certificate of completion.

VVithin 14 days after you file this bankruptcy petition,
you i\/|UST tile a copy of the certificate and payment
plan, if any.

El l certify that | asked for credit counseling
services from an approved agency, but was
unable to obtain those services during the 7
days afteri made my request, and exigent
circumstances merit a 30-day temporary waiver
of the requirement.

To ask for a 30-day temporary waiver of the
requirement, attach a separate sheet explaining
what efforts you made to obtain the briefing, why
you were unable to obtain it before you filed for
bankruptcy, and what exigent circumstances
required you to die this case.

Your case may be dismissed if the court is
dissatisfied with your reasons for not receiving a
briefing before you iled for bankruptcy.

if the court is satisfied with your reasons, you must
still receive a briefing within 30 days after you file.
You must tile a certificate from the approved
agency, along with a copy of the payment plan you
developed, if any. |f you do not do so, your case
may be dismissed.

Any extension of the 130-day deadline is granted
only for cause and is limited to a maximum of 15
days.

a i am not required to receive a briefing about
credit counseling because of:

l:l |ncapacity. | have a mental illness or a mental .
deficiency that makes me
incapable of realizing or making
rational decisions about finances

n Disability. i\/|y physical disability causes me
to be unable to participate in a
briefing in person, by phone, or
through the internet, even after l
reasonably tried to do so.

a Active duty. l am currently on active military
duty in a military combat zone.

if you believe you are not required to receive a
brlef ng about credit counseling, you must t` le a
motion for waiver of credit counseling with the court.

Vo|untary Petition for individuals Fiiing for Bankruptcy page 5

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Debtor1 Chrisfopher J. Anniello

First Name Middle Name

Case number uninon
Last Name

m Answer 'l'hese Questions for Reporting Purposes

 

. 1s. What kind of debts do
` you have? -

16a. Are your debts primarily consumer debts? Consumer debts are denned in 11 U.S.C. § 101(8)
as “incurred by an individual primarily for a personal, fami|y, or household purpose."

El No. soto nne 16b.
m ¥es. Go to line 17.

16b. Are your debts primarily business debts? Business debts are debts that you incurred to obtain
money for a business or investment or through the operation of the business or investment.

El No. soto rine 16b.
n Yes. Go to line 17.

160. State the type of debts you owe that are not consumer debts or business debts.

 

 

11. Are you filing under
Chapter 7?

 

Do you estimate that after
any exempt pro|perty is

a No. l am not filing under Chapter 7. Go to line 18.

n Yes. l am filing under Chapter 7. Do you estimate that after any exempt property is excluded and
administrative expenses are paid that funds will be available to distribute to unsecured creditors?

 

 

excluded and m No
administrative expenses
are paid that fuirds wiii be cl Yes
available for distribution
to unsecured c 'editors?
18. How many creditors do Ei 1-49 lIi 1,000-5,000 El 25,001-50,000
you estimate that you El 50-99 El 5,001-10,000 El 50,001-100,000
°We? l.'.i 100-199 Ei 10,001-25,000 Cl rvrore than 100,000
Cl 200-999
19. How much do you D $0-$50,000 Ci $1,000,001-$10 minion Ci $500,000,001-$1 binion

estimate your assets to
- be worth?

D $50,001-$100,000
Ei $100,001-$500.000
Cl $500,001-$1 miriion

El $10,000,001-$50 minron
El $50,000,001-$100 miriion
El 3100,000,001-$500 minion

El $1,000,000,001-$10 binion
El $10,000,000,001-$50 binion
El rvrore than $50 binion

 

20. How much do you
estimate your liabilities
to be?

El $0-$50,000

El $50,001-$100,000
$100,001-$500,000
Ci $500,001-$1 mirrion

El $1,000,001-$10 minton

Ei $10,000,001-$50 mirrion
El $50,000,001-$100 minion
El 5100,000,001-$500 mirrion

El $500,000,001-$1 bnnon

EJ $1,000,000,001-$10 binion
El $10,000,000,001-$50 binion
Cl rvroro than $50 binion

 

For you

 

l have examined this petition, and l declare under penalty of perjury that the information provided is true and
correct

|f| have chosen to file under Chapter 7, l am aware that l may proceed, if eligible, under Chapter 7, 11,12, or 13
of title 11, United States Code. l understand the relief available under each chapter, and | choose to proceed
under Chapter 7.

lf no attorney represents me and l did not pay or agree to pay someone who is not an attorney to help me fill out
this document, l have obtained and read the notice required by 11 U.S.C. § 342(b). '

l request relief in accordance with the chapter of title 11, United States Code, specified in this petition.

l understand making a false statement, concealing property, or obtaining money or property by fraud in connection
with a bankruptcy case can result in fines up to $250,000, or imprisonment for up to 20 years, or both.
18 U.S.C. §§ 152, 1341, 1519,‘21nd 357 .

 
 

 

 

 

x['/iMQ/` x
§gnatur;of Debtor 1 Signature ot Debtor 2
Executed on b t gi / f Executed on
MM

/ DD YY MMl DD lYYYY

 

§'-.“', .¢`, if t

 

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orrioiar Form 101 |
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Vo|untary Petition for individuals Fi|ing for Bankruptcy ' page 6

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Debtor1 Chi'iStDDh€i` J. Anni€ilO Case number rirr<nown)

First Name Middle Name Last Name

 

 

|, the attorney for the debtor(s) named in this petition, declare that l have informed the debtor(s) about eligibility
to proceed under Chapter 7, 11, 12, or 13 of title 11, United States Code, and have explained the relief
available under each chapter for which the person is eligible. l also certify that | have delivered to the debtor(s)
the notice required by 11 U.S.C. § 342(b) and, in a case in which § 707(b)(4)(D) applies, certify that | have no

For your attorney, 'f you are
f represented by one

 

if you are not represented knowledge after an inquiry that the information in the schedules med with the petition is incorrect.
by an attorney, youl do not
need to file this page. x
Date
Signature of Attorney for Debtor MM / DD /YYYY

 

Printed name

 

Firm name

 

Number Street

 

 

 

 

City State ZlP Code
Contact phone Email address
Bar number State

 

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l
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Official Form 101 Vo|untary Petition for individuals Fi|ing for Bankruptcy page 7

 

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Debtor1 Christopher J. Anniel|o case number,-imm
First Name l Middle Name L~ast Name
l
For you if you are filing this The law allows youl as an individual, to represent yourself in bankruptcy court, but you
bankruptcy without an should understand that many people find it extremely difficult to represent
' attorney l themselves successfuiiy. Because bankruptcy has long-term financial and legal

l consequences, you are strongly urged to hire a qualified attorney.

: if you are represented by
an attorney, you dd not
need to file this page.

To be successfu|, you must correctly file and handle your bankruptcy case. The rules are very
technical,' and a mistake or inaction may affect your rights. For examplel your case may be
dismissed because you did not file a required document, pay a fee on time, attend a meeting or
hearing, or cooperate with the court, case trustee, U.S. trustee, bankruptcy administrator, or audit
firm if your case is selected for audit. lt that happens, you could lose your right to file another
case, or you may lose protections, including the benefit of the automatic stay.

You must list all your property and debts in the schedules that you are required to file with the
court. Even if you plan to pay a particular debt outside of your bankruptcy, you must list that debt
in your schedules. |f you do not list a debt, the debt may not be discharged. if you do not list
property or properly claim it as exempt, you may not be able to keep the property. The judge can
also deny you a discharge of all your debts if you do something dishonest in your bankruptcy
case, such as destroying or hiding property, falsifying records, or lying. individual bankruptcy
cases are randomly audited to determine if debtors have been accuratel truthful, and complete.
Bankruptcy fraud is a serious crime; you could be fined and imprisoned.

 

l lf you decide to file without an attorney, the court expects you to follow the rules as if you had
hired an attorney. The court will not treat you differently because you are filing for yourse|f. To be
successfu|, you must be familiar With the United States Bankruptcy Code, the Federal Rules of
Bankruptcy Procedure, and the local rules of the court in Which your case is ti|ed. ¥ou must also
be familiar with any state exemption laws that app|y.

Are you aware that Hling for bankruptcy is a serious action with long-term financial and legal
consequences?

Cl No

m Yes

Are you aware that bankruptcy fraud is a serious crime and that if your bankruptcy forms are
inaccurate or incomplete, you could be fined or imprisoned?

Cl No
m Yes

Did you pay or agree to pay someone who is not an attorney to help you fill out your bankruptcy forms?

mNo

El Yes. Name of Person .
Attach Bankruptcy Petition Preparer's Notice, Declaratr'on, and Signafure (Ochial Form 119).

have read and understood this notice, and | am aware that filing a bankruptcy case without an
attorney may cause me to lose my rights or property if | do not properly handle the case.

EMMM x

 

 

 

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l
|
1
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|
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l
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1
l
, By signing here, l acknowledge that l understand the risks involved in filing without an attorney. l
|
l
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l
l
|
l
|

 

 

 

Signafure of Debtor 1 Signafure of Debtor 2
Date 05/§). 9/201 8 gate
MMl DD /\'YYY MM/ DD lYYYY
Contact phone (631) 387'6504 Contact phone
Cel| phone Cel| phone
l Email address Email address l

     

~/.N. .: c -\-».t
~,`_/,_ a~; twa

 

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Otficia| Form 101 f Vo|untary Petition for individuals Fi|ing for Bankruptcy page 8
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UNITED STATES BANKRUPTCY COURT
EASTERN DISTRICT OF NEW YORK
www.nyeb.uscourts.gov

STATEMENT PURSUANT TO LOCAL
BANKRUPTCY RULE 1073-2(b)

 

DEBTOR(S): Christopher J. Annieiio ~ CASE N_O.:

 

_ Pursuant to Local Bankruptcy Ruie 1073-2(b), the debtor (ar any other petitioner) hereby makes the following disclosure
concerning Reiated;Cases, to the petitioner’s best knowiedge, information and beiief:

_ _ [NOTEZ Ca`ses shall be deemed “Related Cases” for purposes of E.D.N.Y. LBR 1073-1 and E.D.N.Y. LBR 1073-2 if the earlier case

was pending at any| time within eight years before the filing of the new petition, and the debtors in such cases: (i) are the same;

_ (ii) are spouses or ex-spouses; (iii) are affiliates, as defined in l 1 U.S.C. § 101 (2); (iv) are general partners in the same partnership;

(v) arc a partnersh`p and one or more of its general partners; (vi) are partnerships which share one or more common general

partners; or (vii) have, or within 180 days of the commencement of either of the Related Cases had, an interest in property that

was or is included in the property of another estate under ll U.S.C. § 541(3).]

- -NO RELATED CASE IS PENDING OR HAS BEEN PENDING AT ANY TIME.

ETHE FOLLOW [NG RELATED CASE(S) lS PENDING OR HAS BEEN PENDING:

 

' l`. _CASE NO.:__ JUDGE: DISTRICT/DIVISION:

CASE STILL PENDlNG (Y/N): [lfclosed| Date of ciosing:

 

CURRENT STAT US OF RELATED CASE: .
' (Discharged/aw_aiting discharge, confirmed, dismissed, etc.)

MANNER IN WHICH CASES ARE RELATED (Refer to NOTE above).'

REAL rROPERTY LISTED IN DEBToR’s SCHEI)ULE “A” (“REAL rROPERTY”) WHICH wAS ALso LISTED lN
sCHEDuLE “A"’ or RELATED CASE:

 

 

n _ _ `2.‘ CASE NO.:___» ' JUDGE: DISTRICT/DIVISION:

 

CASE STILL PENDING (Y/N): ` [Ifclosetl| Date of closing:

 

CURRENT STATUS OF RELATED CASE:
‘ ~ (Discharged/awaiting discharge, confirmed, dismissed, etc.)

 

` 14 MANNER!N warren cAsES ARE RELATED (Refer to NOTE above).-

REAL PROPER'I Y LISTED IN DEBTOR’S SCHEDULE “'A” (“REAL PROPERTY”) WHICH WAS ALSO LISTED
IN SCHEDULE “A” OF RELATED CASE:

 

 

(ovER)

 

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DISCLOSURE OF RELATED CASES (cont’d)

3. CASE.NO.: JUDGE: DISTRlCT/DlVISION:

' ‘»""C,AS_E' STlLL PENl)ING (Y/N): ' [Ifclosed| Date of closing

 

" CURRENT sTATUs oF RELATED CASE:
` (Discharged/awaiting discharge, coni'lrmed, dismissed, etc.)-

MANNER IN WHI CH CASES ARE RELATED (Refer to NOTE above).'

REAL PROPERT¥ LISTED IN DEBTOR’S'SCHEDULE “A” (“REAL PROPERTY”) WHICH WAS ALSO LISTED
' IN SCHEDULE “A” OF RELATED CASE:

 

 

NOTE: `Pursuant to 11 U.S.C. § 109(g), certain individuals who have had prior cases dismissed within the preceding 180 days `
may not be eligible to be debtors. Such an individual will be required to file a statement in support of his/her eligibility to file.

v TO BE CQMPLET ED BY DEBTOR/PETITIONER'S ATTORNEY, AS APPLICABLE:

" I am admitted to practice in the Eastern District of New York (Y/N):

":-:`¢ERTIFlCATION (to be signed by pro se debtor/petitioner or debtor/petitioner's attorney, as applicable):

1 I certify under pen alty of perjury that the within bankruptcy case is not related to any case now pending or pending at any

time, except as indicated elsewhere on this form. - (
f/MM/ZM/IJ

Signature of Debtor's Attorney §igriature`of Pr(`)/Se Debtor/Petitioner

 

931 Sycamore Ave.
Mailing Address of Debtor/Petitioner

Bohemia NY 11716
City, State, Zip Code _ l

 

 

 

Email Address

6313876504
Area Code and Telephone Number

 

'_Fa'ilure to fully and truthfully provide all information required by the E.D.N.Y. LBR 1073-2 Statement may subject the debtor
or any other petiti )ner and their attorney to appropriate sanctions, including without limitation conversion, the appointment
of a trustee or the dismissal of the case with prejudice. '

NOTE: Any change in address must be reported to the Court immediately IN WRITING. Dismissal of your petition may
otherwise result.

USBC - 17 Rev 09/15/11

 

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UNITED ST§ATES BANKRUP'I`CY COURT
EASTERN DISTRICT OF NEW YORK
l

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In rec ChriStOpher J. AnnlellO 4 Case No.
l ` ' Chapter 13

 

Debtor(s)

 

X

DECLARATION OF PRO SE DEBTOR(S)

 

l
All individuals filing for bankruptcy pro se (Without an attorney), must provide the following information:

Name OfDethr(S): Christopher J. Annie||o
Address; 931 Sycamore Ave Bohemia NY 11716

 

 

Email Address:
Phone Numb erc 631'387'6504

 

 

 

CHECK THE APPROPRIATE RESPONSES:
|
FILING FEE:
1
= PAID: THE FILING FEE IN FULL

/ APPL IED FOR INSTALLMENT PAYMENTS OR WAIVER OF THE FILING FEE

 

 

 

 

 

PREvIoUS CASES FILED: 17. 2. ` 3.

 

 

 

ASSISTANCE WITH PAPERWORK:
= NO A|SSISTANCE WITH PREPARATION OF/FILING PETITION AND SCHEDULES
! HAD ASSISTANCE WITH PREPARATION OF/F_ILING PETITION AND SCHEDULES

 

 

 

 

|
l
If Debtor had assistanee, the following information must be completed:

Name of individual who assisted: dane V' Mari

 

 

 

Addr:ess; 931 Sycamore Ave Bohemia NY 11716
Phone Number: v _ ( 631 ) 750-3701
Amount Paid for Assistance: $

I/We hereby !declare the information above under the penalty of perjuiy.

i ' l ' v \
Dated: 5/21:/2018 . §%%M/MW

l ebtor’(s/Signattne

 

Joint Debtor’s Signature

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UNITED STATES BANKRUPTCY COURT
EASTERN DISTRICT OF NEW YORK

 

In re: Annie||q J. Christopher
l

Debtor(s)

 

X

A`FFIRMATION oF FILER(S)

All individuals filing a bankruptcy petition on behalf of a pro se debtor(s), must provide the following
infonnation:

 

 

 

Name of File|r: Mari V- Jane
Address; 931 Sycamore ave Bohemia NY 11716
Email Address:

Phone Numb!er: 631 "750'3701

 

Name OfDethr(S); Christopher J. Anniello

 

 

CHECK THE APPROPRIATE RESPONSES:

| .
ASSISTANCE PROVI])ED TO DEBTOR(S):

l PREPARED THE PETITION AND/on ASSISTED WITH THE PAPERWORK BY DoING
THE§ FoLLowING;
l

i -
I DID NOT PROVIDE THE PAPERWORK OR ASSIST WITH COMPLETING THE FORMS.

FEE RECEIVED:
/ lwlixs NoT PAID.
l
l WAS PAID.
, Amount Paid: $

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

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l .
I/We hereby;afflrm the information above under the penalty of perjury.

 

Dafed; 5 !§g{ Z:Zczl g _ qp/)/`_’Q. % `
Qler’s Signature

CASE: 8-18-73426-&8'[ DOC l Filed 05/21/18 Entered 05/21/18 10228215

UNITED STATES BANKRUP'I`CY COURT
EASTERN DISTRICT OF NEW YORK

 

ln Re:

Christopher J . Anniello

Case No.

Chapter 13

Debtor(s)

 

VERIFICATION OF CREDITOR MATRIX/LIST OF CREDITORS

 

The undersigned debtor(s) or attorney for the debtor(s) hereby verifies that

 

the credi1 or matrix/list of creditors submitted herein is true and correct to the best of his or her

knowledge

Dated: 5

USBC-44

2l/2018

Debtor

 

Joint Debtor

 

Attorney for Debtor

Rev. 3/17/05

 

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NYS |\/lortgag|e Agency

641 Lexingtc:)n Ave
New York, New York 10022
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